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Exhibit 21
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Dear Dawn,
Thank you for drafting this--1 will circulate to the committee with some context and will get their teedback about how fo proceed.

And your point is well taken about providing factual information about the process of nondirected kidney donation. Among other
information, our 1C1S web page offers links for interested readers and discussion leaders who want to pursue additional information
about issues related to the story. Are there particular sources of online information you would suggest we link to? Your suggestion about
gathering a group to present on the topic at the book festival is an interesting one--I'm ebviously Ne well informed enough to curate such
a session myself, but if you'd like to propose one, I'd encourage you to took into our B
end of the month) accepting proposals for this competitive program, and | can see how this
the discussion of 1C1S's fictional approach to the topic.

topic might be an n interesting complement to
Best,
Norah

On Tue, Jun 19, 2018 at 11:22 AM, Dawn Dorland <dawndorland@amail. com> wrote:
Dear Norah,

Thank you for your emall and your invitation to draft an acknowledgment. What about something like this?

This story appears in an altered form from its first publication in American Short Fiction. A section of the story was substantially revised
because it bore a clear resemblance to the unpublished work and service of the writer Dawn Dorland, a living kidney donor. The Boston
Book Festival, 1C1S, and the author Sonya Larson express their sincere regrets.

While | have you--and because the story will enjoy such a wide platform--please allow me te also express concern for the many ways
inat the story violates the verisimilitude of nondirected (altruistic) living kidney donation. | predict that a fot of confusion will arise in
reading groups, and perhaps in BBF's public fora, about how nondirected donors are maiched with recipients {living denors do not have
unscheduled surgeries at hospitals after car crashes, for example). Because the stakes are not merely fictional, | recommend providing
accurate information about living kidney donation in the 1071S booklet and/or empaneling a group of surgeons and donor-recipient pairs
for an event al the book festival itself.

Kindly,
Dawn

| check email once daily at noon.

On Jun 18, 2018, at 7:03 PM, Norah Piehl <norah @bostonbooklest_orc> wrote:

Dear Dawn,

Thank you so much for explaining your concerns so ciearly~| feel like | have a better understanding now, and I'm sorry for jumping to
conclusions about the basis of your concerns (though | belleve you can see. based on the original background you provided to
Raquel, how | arrived at that interpretation). The story is currently in second page proof. so we dan't have a lot of time, but if you
could please propose some text for a brief, as you say, gracious acknowledgment that you would find satisfactory, | would be happy
lo take if lo the commitice for discussion and decision. i's also possible thal we coudd include a more subsiantial acknowledgment on
our website, if not in the printed booklet, if the committee feels thal that is the appropriate route to take.

| would also like fo point oul that the 1C 1S pragrar is pravided to the residents of Greater Boston by our nonprofit organization
absolutely free of charge, and is a fundamental piece of our annual programming. We do take your concems seriously, and not
confined solely to legal lability, and | have spoken at length with both our executive director and with Sonya about our reservations
and concerns, but at the end of the day, we had io make an organizational decision about whethar to proceed with the story--with the
shoricomings you have pointed cul--or to abandon the project allogether for the year. Given the project's strict timeline, we didn't
have the luxury of a third option, and that's why we're trying to do the best we can.

All best.
Norah

On Mon, Jun 18, 2018 at 9:27 PM, Dawn Dorland «de
Dear Norah,

wedor

Ye WIGS!

| am happy to explain my ethical concerns, as well as whai | would consider suitable outcomes, as the writer whose text informed
your 2018 1C1S selection’s tterary mari, That is why | gave you a call.

4

To be clear. my ethical concerns have entirely to do with plage mand copyright inhingement. not with your 1C1S writer's
inspration and motivations. (The information that | provided ny plagiarism claim about my ow ng kidney donation and my
friendship with Sonya Larsen was to demonstrate an iimportant jegai principle: how Sonya had access to the text of my private
donorrecipient letier)

The ethical considerations | wanted to discuss with you and the BBF have to da with Sonya’s story having been selected

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Lerbal be mw mwa ien tan ante meter mien ol mentite h eves Ine mri ada eh nthe

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